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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE
       IN RE:
       NEW CENTURY TRS HOLDINGS, INC.                                 Case No. 07-10416-KJC
               Debtor                                                 (Chapter 11)

       U.S. BANK N.A., AS TRUSTEE C/O                                 Ref: Docket No._455__
       OCWEN FINANCIAL
                Movant

       THOMAS D.H. BARNETT, ESQUIRE
       BAR NUMBER 0994
       NEIL F. DIGNON, ESQUIRE
       BAR NUMBER 3625
                  Attorneys for the Movant
           v.
       NEW CENTURY TRS HOLDINGS, INC, et
       al.
                 Respondents

                      ORDER TERMINATING AUTOMATIC STAY

       UPON CONSIDERATION of the Motion for Relief from Automatic Stay (“Motion”)

filed by U.S Bank N.A., as Trustee c/o Ocwen Financial (“Ocwen”), and any response thereto,

and good cause having been shown, it is hereby

       ORDERED, that the Motion be, and the same is hereby GRANTED; and it is further

       ORDERED, that the Automatic Stay is terminated allowing Ocwen to exercise its rights

under applicable law against the Debtor’s Property more particularly described in the Mortgage

which has the address of1224 R Tamayo Street, Calexico, CA 92231.("Property"), including, but

not limited to foreclosure against the Property under the Mortgage.



Date:___________________                            BY THE COURT:

                                                    ____________________________
                                                    U.S. Bankruptcy Court Judge
